Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 1 of 34   PageID #: 71




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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

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                                            )
                                            )
  MICHAEL SANTUCCI                          )
                     Plaintiff,             )
                                            ) Civil Action No. _____________
  v.                                        )
                                            )
  CITY AND COUNTY OF HONOLULU, )MEMORANDUM IN SUPPORT OF
  and HOLLY T. SHIKADA, in her              ) MOTION FOR PRELIMINARY
  Official Capacity as the Attorney General ) INJUNCTION
  Of the State of Hawaii                    )
                                            ) Judge: N/A
                                            ) Trial: N/A
                                            ) Hearing: N/A
                                            )
  ____________________________________)
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 2 of 34                                                 PageID #: 72




                                                 Table of Contents




  Introduction ................................................................................................................1
  Plaintiff is Likely to Succeed on the Merits………………………………………..3
  Requiring Plaintiff to receive medical clearance violates the Second Amendment ....
  Violates the Second Amendment ...............................................................................6
  Strict Scrutiny Should Apply to Plaintiff’s Claims………………………………...9
  Under Intermediate Scrutiny the Ban Fails..............................................................11
  City’s Policy requiring medical clearance Violates Due Process Because it is Ultra
  Vires .........................................................................................................................12
  The City’s Policy Violates Equal Protection ...........................................................14
  The City's Forced disclosures are unconstitutional……………………………….15

  The Disclosure requirements violate the Second Amendment……………………21
  Vagueness/Fair Notice .............................................................................................23
  Plaintiffs Will Suffer Irreparable Harm ...................................................................24
  Waiver of bond……...…………………………………………………………….26
  Consolidation……………………………………………………………………...27
  Conclusion ...............................................................................................................27




                                                                 iii
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 3 of 34         PageID #: 73




  CASES
  Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011) .3
  Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir.
  2009)………………………………………………………………………………..2
  Bellotti v. Baird, 443 U.S. 622, 655 (1979)……………………………………….22
  Binderup v. Att’y Gen, 836 F.3d 336 (2016)……………………………………...11
  Carey v. Population Servs. Int.’l, 431 U.S. 678, 684 (1977)……………………...16
  Cine SK8, Inc. v. Town of Henrietta 507 F.3d 778, 779 (2d Cir. 2007)………13, 14
  District of Columbia v. Heller, 554 U.S. 570……………………………..2, 7, 8, 14
  Doe v. Attorney General, 941 F.2d 780, 796 (9th Cir. 1991).…………………….18
  Doe v. City of New York, 15 F.3d 264, 267 (2d Cir. 1994)……………………….17
  Donald J. Trump for President, Inc. v. Bullock, No. CV 20-66-H-DLC, 2020 U.S.
  Dist. LEXIS 169794, at *2 (D. Mont. Sep. 16, 2020)…………………………….27
  Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014)………….25
  East Bay Sanctuary Covenant v. Trump, 349 F.Supp.3d 838, 869 (N.D. Cal. 2018).
  …………………………………………………………………………………….26
  Elliott v. Kiesewetter, 98 F.3d 47, 60 (3d Cir. 1996).…………………………….27
  Elrod v. Burns, 427 U.S. 347, 373 (1976)………………………………………...24
  Ezell v. City of Chicago, 651 F.3d 684 (2011)……………………………………24

  Ferm v. United States Trustee (In re Crawford), 194 F.3d 954, 958 (9th Cir.
  1999);. ……………………………………………………………………………17
  Fisher v. Kealoha, 2012 U.S. Dist. LEXIS 90734, *40, 2012 WL.
  Fotoudis v. City & County of Honolulu, 54 F. Supp. 3d 1136, 1144 (D. Haw.
  2014)……………………………………………………………………………..12
  Grayned v. City of Rockford, 408 U.S. 104, 108 (1972)…………………………23
  Jackson v. City & County of San Francisco, 746 F.3d 953, 960 (9th Cir. 2014)..7,
  ………………………………………………………………………………….10
  Johnson v. Couturier, 572 F.3d 1067, 1086 (9th Cir. 2009)……..…………….26



                                           iv
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 4 of 34     PageID #: 74




  Klein v. City of San Clemente, 584 F.3d 1196 (9th Cir. 2009)………………….25
  Lamont v. Postmaster General, 381 U.S. 301 (1965)……………………….16, 21
  McDonald v. City of Chicago, 561 U.S. 742 (2010)……………………………24
  Melendres v. Arpaio, 695 F.3d 990 (9th Cir. 2012)…………………………….24
  Monterey Mech. Co. v. Wilson, 125 F.3d 702 (9th Cir. 1997)………………….24
  NAACP v. Alabama ex rel. Patterson, 357 U.S. 449 (1958)…………………16, 21
  NASA v. Nelson, 562 U.S. 134 (2011)……………………………………………17

  Nixon v. Adm’r of General Servs., 433 U.S. 425, (1977)…………………………16

  Orff v. City of Imperial, No. 17-cv-0116-W, 2017 WL 556983, (S.D. Cal. Nov. 17,
  2017)………………………………………………………………………………19

  OSU Student Alliance v. Ray, 699 F.3d 1053 (9th Cir. 2012)…………………….15

  People of the State of Cal. ex rel. Van De Kamp v. Tahoe Regency Planning
  Agency, 766 F.2d 1319 (9th Cir. 1985)…………………………………………...27

  Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833 (1992)………………..…16

  Planned Parenthood of Southern Arizona v. Lawall, 307 F.3d 783 (9th Cir.
  2002)………………………………………………………………………………18

  Preminger v. Principi, 422 F.3d 815 (9th Cir. 2005)……………………………..25

  Rodriguez v. Robbins, 715 F.3d 1127 (9th Cir. 2013).……………………………26

  Roe v. Sherry, 91 F.3d 1270 (9th Cir. 1996)……………………………………...20

  Royal Crown Day Care LLC v. Dep't of Health & Mental Hygiene, 746 F.3d 538,
  545 (2d Cir. 2014)………………………………………………………………..13

  Silveira v. Lockyer, 312 F.3d 1052 (9th Cir. 2002)…………………………14, 15
  Stokes v. United States DOJ, No. C 19-04613 WHA, 2021 U.S. Dist. LEXIS
  142785, (N.D. Cal. July 30, 2021)……………………………………………….9

  Talley v. California, 362 U.S. 60 (1960)……………………………………..16, 21

                                         v
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 5 of 34       PageID #: 75




  Thomas v. Review Bd. of Ind.do Employment Sec. Div., 450 U.S. 707 (1981).10, 15

  Thornburgh v. American College of Obstetricians and Gynecologists, 476 U.S. 747
  (1965)……………………………………………………………………..16, 21, 22

  Tyler v. Hillsdale Cnty. Sheriff's Dep't, 837 F.3d 678 (6th Cir. 2016)………..11, 12

  United States v. Chovan, 735 F.3d 1127 (9th Cir. 2013)……………………7, 8, 11

  United States Dep’t of Justice v. Reporters Comm. for Freedom of the Press, 489
  U.S. 749 (1989)…………………………………………………………………16

  Valle del Sol Inc. v. Whiting, 732 F.3d 1006 (9th Cir. 2013)……………………..26

  Varo v. Los Angeles Cty. Dist. Atty’s Office, 473 F. Supp. 3d 1066 (C.D. Cal.
  2019)………………………………………………………………………………17

  Walls v. Petersburg, 895 F.2d 188, 192 (4th Cir. 1990)………………………….17

  Weaver v. City of Montebello, 370 F.Supp.3d 1130 (C.D. Cal. 2109)……………26

  Whalen v. Roe, 429 U.S. 589 (1977)……………………………...15, 16, 17, 19, 20

  Winter v. Nat. Res. Def. Council, Inc., 55 U.S. 7 (2008)…………………………..2

  Yukutake v. Conners, No. 19-00578 JMS-RT, 2021 U.S. Dist. LEXIS 153586, at
  *15 (D. Haw. Aug. 16, 2021)…………………………………………………….12

  STATUTES

  H.R.S. 134-2……………………………………………………………………….4

  H.R.S. 134-7………………………………………………………….3, 4, 5, 23, 24


  U.S.C. 922(g)(1)…………………………………………………………………11

  U.S.C. 922(g)(4)…………………………………………………………………8



                                          vi
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 6 of 34       PageID #: 76




  RULES

  Rule 65(a)(2)…………………………………………………………………….27

  Rule 65 (c)……………………………………………………………………….26

  OTHER AUTHORITIES

  Red Flag Laws: How Law Enforcement’s Controversial New Tool to Reduce Mass

  Shootings Fits Within Current Second Amendment Jurisprudence, 61 B.C.L. Rev.

  1491 (April 2020)…………………………………………………………………2

  11A Charles Alan Wright et al., Federal Practice and Procedure § 2948.1 (2d ed.

  1995)………………………………………………………………………………24




                                          vii
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 7 of 34                PageID #: 77




                                       Introduction

        Plaintiff is a City and County of Honolulu (“City”) resident, who the City,

  through its own policy and/or its application of State law, will not allow to own

  firearms without medical clearance due to treatment for mental health. Plaintiff’s

  claim is that this is unconstitutional on Second Amendment, Due Process and

  Equal Protection grounds. The City’s policy and/or application of state law is

  additionally unconstitutional because it requires the disclosure of private

  information. In the alternative, the statute itself is unconstitutionally vague.

  Plaintiff faces deprivation of his constitutional rights and is entitled to an

  immediate injunction to enjoin the City from its unconstitutional conduct and the

  enforcement of the statute itself.

        The City’s requirement that Plaintiff produce a mental health medical

  clearance before he can own/register a firearm violates the Second Amendment

  because it impermissibly shifts the City’s burden of establishing mental

  incompetency to the applicant to disprove mental incompetency. As a practical

  matter, the City makes the applicant disprove a negative – I am not incompetent –

  which is expensive and burdensome especially considering that virtually all Hawaii

  doctors refuse to write the waivers the City requires as proof of mental

  competency. Additionally, governmental physicians, such as Department of

  Defense personnel, are forbidden to write such a statement. See Complaint ¶ ¶43.


                                              1
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 8 of 34             PageID #: 78




  Finally, the statute itself makes an impossible circumstance a prohibiting marker

  yet, because the statute is undefined, captures and prohibits all manner of persons,

  including Plaintiff.

        Although Heller in dicta stated that mental incompetency may,

  presumptively, be a reason to ban gun ownership, Heller firmly placed the burden

  on the state to establish incompetency in the first instance. Moreover, federal and

  state statutes banning gun ownership on this basis have set incredibly high

  objective standards – proof of commitment along with its concomitant notice and

  due process procedures.

        The City's policy, and the statute itself, should be directed at individuals who

  it reasonably believes pose a danger to themselves or others rather than those who

  simply have received some mental health treatment. See e.g., NOTE_ _RED

  FLAG_ LAWS_ HOW LAW ENFORCEMENT_S CONTROVERS, 61 B.C. L.

  Rev. 1491 .

        To obtain preliminary injunctive relief, the moving party must show: (1) a

  likelihood of success on the merits; (2) a likelihood of irreparable harm absent

  preliminary relief; (3) that the balance of equities tips in favor of injunction; and

  (4) that an injunction is in the public interest. Am. Trucking Ass’ns, Inc. v. City of

  Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009) (quoting Winter v. Nat. Res. Def.

  Council, Inc., 55 U.S. 7, 20 (2008)). Alternatively, an “injunction is appropriate



                                             2
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 9 of 34            PageID #: 79




  when a plaintiff demonstrates that serious questions going to the merits were raised

  and the balance of hardships tips sharply in the plaintiff’s favor.” Alliance for the

  Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011) (internal citation

  omitted).

                     Plaintiff Is Likely to Succeed on the Merits

     Plaintiff Is Not Precluded from Firearm Ownership Under H.R.S. 134-7.

        Plaintiff Santucci has received counseling for feelings of homesickness since

  being stationed in Hawaii See Complaint ¶ ¶ 30. The City argues pursuant to this

  counseling, Plaintiff is barred from receiving a firearm permit pursuant to H.R.S. §

  134-7(c)(3) until he has been cleared by a doctor as being no longer adversely

  affected by a significant behavioral, emotional, or mental disorder as defined by

  the most current diagnostic manual of the American Psychiatric

  Association nor was he treated for organic brain syndromes . See Complaint ¶ ¶ 14;

  It reads as follows:

        (3) Is or has been diagnosed as having a significant behavioral,
        emotional, or mental disorders as defined by the most current
        diagnostic manual of the American Psychiatric Association or for
        treatment for organic brain syndromes;

        shall own, possess, or control any firearm or ammunition therefor,
        unless the person has been medically documented to be no longer
        adversely affected by the addiction, abuse, dependence, mental
        disease, disorder, or defect.

        +



                                             3
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 10 of 34                 PageID #:
                                     80



        However, there is no evidence that Plaintiff has ever been diagnosed with a

  significant behavioral, emotional, or mental disorders as defined in the D.S.M.

  Rather, plaintiff has been told he is fit to carry a firearm in performance of military

  duties; in fact Plaintiff has qualified, recently, on several different firearms

  including pistols and long guns. See ¶ ¶ 28. Contrary to what the statute requires,

  the City shifts the burden onto the Plaintiff to prove that he is qualified to own

  firearms when he has never been diagnosed with a disqualifying mental condition.

        Therefore, the City is prohibiting Plaintiff due to an independent municipal

  policy. In the event this Court disagrees with this analysis, then H.R.S. § 134-

  7(c)(3) is unconstitutional as applied to Plaintiff. Additionally, the City’s mental

  health process unconstitutionally requires the disclosure of private personal

  information.

        Pursuant to H.R.S. §134-2, in order to apply for a permit to acquire a

  firearm,

        (c) An applicant for a permit shall sign a waiver at the time of
        application, allowing the chief of police of the county issuing the
        permit access to any records that have a bearing on the mental health
        of the applicant. The permit application form and the waiver form
        shall be prescribed by the attorney general and shall be uniform
        throughout the State.


        The City applies this statute by requiring applicants to sign one waiver that

  appears to be of their own making contrary to state law, that “authorize[s] the


                                              4
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 11 of 34              PageID #:
                                     81



  Chief of Police in the City and County of Honolulu access to any and all records

  which have a bearing on my mental health for the strict purpose of determining my

  qualification to acquire, own, possess, or have under my control, a firearm”. See

  Complaint Exhibit C which HPD labels (HPD-89 (R-05/13). And another that

  authorizes the State to release to the City similar files. See Complaint Exhibit C

  which is labeled (HPD-89A, R-02/14       AG.Firearms.Waiver.Honolulu 9/2013).

  Applicants are also required to file another questionnaire that asks them about their

  mental health, yet this form, unlabeled, seeks personal information far broader than

  what qualifies as a disqualifying mental condition under H.R.S. 134-7(c)(3) . See

  Complaint Exhibit B. Finally, the applicant’s doctors are sent a letter which

  requests similar information and importantly they are told that the applicant has

  applied to purchase a firearm. See Complaint Exhibit F.

        Therefore, the City’s policy and/or application of Hawaii law requires the

  disclosure of private medical information to the City. And beyond the scope of

  what is needed to determine whether a person is fit to own a firearm. The stated

  rationale for this disclosure is to see if a person has been diagnosed as having a

  significant behavioral, emotional, or mental disorders as defined by the most

  current diagnostic manual of the American Psychiatric Association or for treatment

  for organic brain syndromes. However, the City requires access to all mental

  health files even those that are not relevant to making this determination and which


                                            5
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 12 of 34             PageID #:
                                     82



  do not make this determination. That is, all the City needs is a document from a

  doctor that answers the question of whether or not suffers from a disqualifying

  mental condition, as defined in the H.R.S., and nothing more. A person’s marriage

  counseling records or private bereavement records has no bearing on this and yet

  are accessible to the police. A narrower disclosure that gave an applicant’s doctor

  the right to release whether the applicant has been “diagnosed as having a

  significant behavioral, emotional, or mental disorders as defined by the most

  current diagnostic manual of the American Psychiatric Association” would achieve

  the same purpose without releasing as much private information. This, as shown

  below, is unconstitutional.

        Furthermore, the disclosure to the applicant’s doctor that he is purchasing a

  firearm is an unconstitutional forced disclosure of private information to a third

  party. There is no need to inform an applicant’s doctor that an applicant is

  purchasing a firearm to request the desired information. Therefore, as shown

  below, the City’s firearms purchase process also violates Plaintiff’s right to privacy

  by requiring him to release private information without justification.

                  Requiring Plaintiff to Receive Medical Clearance

                           Violates the Second Amendment

        The City’s requirement that Plaintiff receive medical clearance before he can

  own a firearm, that he already lawfully possessed, violates the Second


                                            6
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 13 of 34               PageID #:
                                     83



  Amendment. The Ninth Circuit “along with the majority of our sister circuits, has

  adopted a two-step inquiry in deciding Second Amendment cases: first, the court

  asks whether the challenged law burdens conduct protected by the Second

  Amendment; and if so, the court must then apply the appropriate level of scrutiny.”

  See Silvester v. Harris, 843 F.3d 816, 820-821 (9th Cir. 2016). “In the first step,

  we ask ‘whether the challenged law burdens conduct protected by the Second

  Amendment,’ [United States v. Chovan, 735 F.3d 1127, 1136 (9th Cir. 2013)],

  based on a ‘historical understanding of the scope of the [Second Amendment]

  right,’ Heller, 554 U.S. at 625, or whether the challenged law falls within a ‘well-

  defined and narrowly limited’ category of prohibitions ‘that have been historically

  unprotected,’” See Jackson v. City & County of San Francisco, 746 F.3d 953, 960

  (9th Cir. 2014). If the challenge survives the first step, the next step is to

  determine the appropriate level of scrutiny. “In ascertaining the proper level of

  scrutiny, the court must consider: (1) how close the challenged law comes to the

  core of the Second Amendment right, and (2) the severity of the law's burden on

  that right.” Id. at 960-61.

        “The result is a sliding scale. A law that imposes such a severe restriction on

  the fundamental right of self-defense of the home that it amounts to a destruction

  of the Second Amendment right is unconstitutional under any level of scrutiny.”

  Id. at 961. That is the essence of the holding in District of Columbia v. Heller, 554


                                              7
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 14 of 34              PageID #:
                                     84



  U.S. 570, 628-629 (2008). A law that implicates the core of the Second

  Amendment right and severely burdens that right warrants strict scrutiny. See

  Chovan, 735 F.3d at 1138. Otherwise, intermediate scrutiny is appropriate. “[I]f a

  challenged law does not implicate a core Second Amendment right, or does not

  place a substantial burden on the Second Amendment right, the court may apply

  intermediate scrutiny.” Silvester, 843 F.3d at 821. "[T]he core of the Second

  Amendment is 'the right of law-abiding, responsible citizens to use arms in defense

  of hearth and home.'" Mai v. United States, 952 F.3d 1106, 1115 (9th Cir. 2020)

        It is true that, in this circuit, “a person who required formal intervention and

  involuntary commitment by the State because of the person's dangerousness is not

  a "law-abiding, responsible citizen." Thus, in this circuit, for now, Section

  922(g)(4)'s prohibition thus falls well outside the core of the Second

  Amendment right. Id. Mai v. United States, 952 F.3d 1106, 1115 (9th Cir. 2020).

  Plaintiff has never been committed and only received some counseling as do many

  if not most people throughout the course of their lives. See Complaint ¶ ¶ 30, 36,

  37, 39. The Northern District of California recently made a very good analysis of

  Mai in Stokes v. United States DOJ, No. C 19-04613 WHA, 2021 U.S. Dist.

  LEXIS 142785, (N.D. Cal. July 30, 2021). In finding a litigant was not disqualified

  from owning a firearm the Court found the State’s “certification does not establish

  that our plaintiff was found to be both mentally ill and dangerous, as required by


                                            8
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 15 of 34               PageID #:
                                     85



  Mai”. Id at *28. “Therefore, defendants were wrong to deny Stokes a firearm

  permit on account of the Section 5250 certification.” Id. Plaintiff is similarly not

  governed by Mai and is squarely within the class of law-abiding citizens’ who

  receive full Second Amendment protection.

        Requiring medical clearance also violates the Second Amendment because

  the most current diagnostic manual of the American Psychiatric Association does

  not categorize mental, behavioral or emotional disorders as significant or

  insignificant. See Exhibit E, Declaration of Dennis Petrocelli . And thus, it is an

  impossibility for a person to have such a thing. It serves no government interest to

  need to be cleared of something that does not exist. Because it is impossible to

  declare that a person “is no longer adversely affected” by a thing that doesn’t exist

  in the first place, forcing Plaintiff to find a doctor who will certify in writing such a

  thing is nearly impossible and thus only serves to prohibit and dissuade people

  from attempting to exercise their second amendment rights, that is it chills their

  second amendment rights.

                  Strict Scrutiny Should Apply to Plaintiff’s Claims

        In this matter, the ban at issue does not “leave open alternative channels for

  self-defense” and strikes at the core right to own a firearm for self-defense.

  Jackson v. City & Cty. of S.F., 746 F.3d 953, 961 (9th Cir. 2014). Strict scrutiny

  should apply, and the City must demonstrate a compelling government interest to


                                              9
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 16 of 34              PageID #:
                                     86



  permanently deprive a person of their Second Amendment right for a mental,

  emotional or behavioral condition that is not significant as defined by the must

  current diagnostic manual of the American Psychiatric Association and

  demonstrate how that is narrowly tailored to achieve that interest. See Thomas v.

  Review Bd. of Ind.do Employment Sec. Div., 450 U.S. 707, 718 (1981) (“The state

  may justify an inroad on religious liberty by showing that it is the least restrictive

  means of achieving some compelling state interest.”). This Court should apply

  strict scrutiny and find that there is no compelling government interest in shifting

  the burden to Plaintiff to find a doctor to prove he is qualified to own firearms.

  There is also no government interest in making Plaintiff be cleared of a significant

  behavioral, emotional, or mental disorders as defined by the most current

  diagnostic manual of the American Psychiatric Association because such a thing

  does not exist. It serves no government interest to be cleared of something that

  does not exist. This policy also is not narrowly tailored compared to, for instance,

  the extraordinarily high standard of prior commitment that has, at a minimum,

  notice and a judicial proceeding where the person can be heard.

         However, even if intermediate scrutiny applies, this Court should still rule

  in Plaintiff’s favor.




                                             10
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 17 of 34                    PageID #:
                                     87



                  Under Intermediate Scrutiny the Restriction Fails

         Even if this Court finds intermediate scrutiny is appropriate in the instant

  case, the City’s conduct, and the statute, cannot stand. Our intermediate scrutiny

  test under the Second Amendment requires that (1) the government's stated

  objective . . . be significant, substantial, or important; and (2) there . . . be a

  'reasonable fit' between the challenged regulation and the asserted objective."

  Silvester v. Harris, 843 F.3d 816, 821-22 (9th Cir. 2016) (quoting Chovan, 735

  F.3d at 1139). The City simply has not and cannot present evidence that the City’s

  policy and/or application of State law fulfills this test. In any event, many courts

  have struck similar or less restrictive laws based on intermediate scrutiny.

         In Binderup v. Att’y Gen, the Third Circuit sitting en banc applied

  intermediate scrutiny in finding 18 U.S.C. § 922(g)(1) unconstitutional as applied

  to the litigants. 836 F.3d 336 (3d Cir. 2016) (en banc). In Tyler v. Hillsdale Cnty.

  Sheriff's Dep't, the Sixth Circuit sitting en banc ruled that a person who “has been

  adjudicated intellectually disabled” or “has been committed to a mental institution”

  is not permanently barred from possessing firearms, 837 F.3d 678 (6th Cir. 2016)

  (en banc). Judge Julia Gibbons wrote that under intermediate scrutiny, the burden

  of justification is demanding and it rests entirely on the State and “in discharging

  this burden, the government can rely on a wide range of sources, including

  legislative history, empirical evidence, case law, and even common sense, but it


                                              11
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 18 of 34              PageID #:
                                     88



  may not ‘rely upon mere anecdote and supposition”’ (Tyler, No. 13-1876, slip op.

  at 20). In Tyler, according to Judge Gibbons, the government had not presented

  sufficient evidence of the continued risk presented by persons who were previously

  committed (Id. at 24). Thus, the statute, as applied, given the evidence supplied,

  failed intermediate scrutiny.

        Plaintiff’s challenge, in this matter, is analogous. Shifting the burden to an

  applicant to show he is mentally fit “is neither ‘substantially related’ nor ‘narrowly

  tailored’ to such interests.” Fotoudis v. City & County of Honolulu, 54 F. Supp. 3d

  1136, 1144 (D. Haw. 2014). As Judge Seabright recently stated in striking two of

  Hawaii’s registration laws, “[i]t is the government's burden to prove that both

  prongs of the test are satisfied.” Yukutake v. Conners, No. 19-00578 JMS-RT, 2021

  U.S. Dist. LEXIS 153586, at *15 (D. Haw. Aug. 16, 2021).

                     The City’s Medical Clearance Requirement

                    Violates Due Process Because it is Ultra Vires

        As established above, the City’s interpretation of Hawaii law is ultra vires.

  This is a violation of due process. Under the law governing substantive due

  process, Plaintiff must prove that: (1) he had a valid interest at stake; and (2)

  defendant infringed on that interest in an arbitrary or irrational manner. Royal

  Crown Day Care LLC v. Dep't of Health & Mental Hygiene, 746 F.3d 538, 545 (2d

  Cir. 2014). Plaintiff has a fundamental right to own firearms which is being


                                             12
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 19 of 34             PageID #:
                                     89



  infringed by the City misapplying and applying state law. This is analogous to the

  Second Circuit’s jurisprudence. As shown below, this Court should adopt the

  Second Circuit’s reasoning and apply it to this matter. In this case, a due process

  violation exists because Defendants acted in an ultra vires manner which is

  inherently arbitrary. In Cine SK8, Inc. v. Town of Henrietta 507 F.3d 778, 779 (2d

  Cir. 2007) the Second Circuit found ultra vires conduct violates due process. “[I]f

  the Town Board did not have authority for the actions it took regarding Fun

  Quest’s permit—as it appears it did not—the Board’s actions were ultra vires and,

  as a result, sufficiently arbitrary to amount to a substantive due process violation.”

  Id. at 790.

        Similarly, Plaintiff has had his Due Process rights violated by the City’s

  ultra vires conduct. The City does not have authority to require medical clearance

  from Plaintiff because there is no evidence that he has been diagnosed with a

  disqualifying mental health condition. Therefore, the City’s “actions were ultra

  vires and, as a result, sufficiently arbitrary to amount to a substantive due process

  violation.” Id. 790. In Cine SK8, the litigants were able to invoke Due Process

  because they were able to establish a protected property interest. Here, Plaintiff

  may invoke Due Process because he has a protected liberty interest in his right to

  own a firearm for purposes of lawful self-defense as well as a protected property

  interest in the firearms that he already owns. As in Cine SK, the City’s ultra vires


                                            13
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 20 of 34              PageID #:
                                     90



  conduct is inherently arbitrary and the decision to deny Plaintiff’s permit was made

  through a process tainted with fundamental irregularities. The City does not have

  the right to deny Plaintiff’s permit to acquire without evidence of a disqualifying

  mental health condition. Plaintiff has a protected liberty and property interest at

  stake in his ability to own firearms, including his own previously owned and

  possessed firearms. The City’s conduct is ultra vires and thus violates Due Process.

                     The City’s Policy Violates Equal Protection

        The City’s policy is a violation of Equal Protection because Plaintiff is being

  treated differently than others who have never been convicted of a disqualifying

  mental illness; Silveira v. Lockyer, 312 F.3d 1052, 1087-88 (9th Cir. 2002)

  abrogated on other grounds by District of Columbia v. Heller, 554 U.S. 570, 128 S.

  Ct. 2783 (2008). According to Heller, Plaintiff has a fundamental right to own a

  firearm for self-defense. Thus, strict scrutiny applies. “Therefore, the University's

  differential treatment of plaintiffs will draw strict scrutiny (as opposed to rational

  basis review) under the Equal Protection Clause only if it impinged plaintiffs' First

  Amendment rights.” See OSU Student Alliance v. Ray, 699 F.3d 1053, 1067 (9th

  Cir. 2012).

        The City must demonstrate a compelling government interest in order to

  require medical clearance. The City must also show how that is narrowly tailored

  to achieve that interest. See Thomas v. Review Bd. of Ind.do Employment Sec. Div.,


                                             14
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 21 of 34                PageID #:
                                     91



  450 U.S. 707, 718 (1981). There is no compelling government interest for the City

  to treat Plaintiff differently than other citizens and doing so is not narrowly

  tailored. Thus, the City’s conduct violates the Equal Protection Clause.

        Even if this Court were to find that rational basis scrutiny applies, requiring

  only some individuals to be medically cleared who have never been diagnosed

  with a disqualifying mental health disorder “is wholly unconnected to any

  legitimate state interest”. A statutory exemption that bears no logical relationship

  to a valid state interest fails constitutional scrutiny”. Silveira v. Lockyer, 312 F.3d

  1052, 1091 (9th Cir. 2002). In this matter, the City’s conduct, and the statute, is

  similarly irrational, and, thus, fails rational basis review.

         The City’s Forced Disclosure Requirements Are Unconstitutional

        The City’s disclosure requirements violate two constitutional principles. The

  first is found “in the Fourteenth Amendment’s concept of personal liberty,”

  Whalen v. Roe, 429 U.S. 589, 598 n.23 (1977), which protects “the individual

  interest in avoiding disclosure of personal matters,” id. at 599; see also Nixon v.

  Adm’r of General Servs., 433 U.S. 425, 457 (1977) (reaffirming right to privacy in

  personal information). The second protects against governmental efforts that chill

  “the exercise of constitutional rights by requiring disclosure of protected, but

  sometimes unpopular, activities.” Thornburgh v. American College of

  Obstetricians and Gynecologists, 476 U.S. 747, 767 (1965), overruled in part on


                                              15
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 22 of 34          PageID #:
                                     92



  other grounds by Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833 (1992);

  see also Lamont v. Postmaster General, 381 U.S. 301, 306–07 (1965) (invalidating

  USPS requirement that addressee affirmatively request delivery of “communist”

  materials in order to receive them); Talley v. California, 362 U.S. 60, 64–65 (1960)

  (municipal ban on unsigned handbills); NAACP v. Alabama ex rel. Patterson, 357

  U.S. 449, 462–65 (1958) (compelled disclosure of NAACP membership list).

        The Fourteenth Amendment protects “a right of personal privacy,” Carey v.

  Population Servs. Int.’l, 431 U.S. 678, 684 (1977), which includes a “privacy

  interest in keeping personal facts away from the public eye,” United States Dep’t

  of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 769 (1989);

  see Whalen, 429 U.S. at 599 n.25 (recognizing “the individual interest in avoiding

  disclosure of personal matters”). Indeed, the Supreme Court has expressly

  acknowledged the acute “threat to privacy implicit in the accumulation of vast

  amounts of personal information in computerized data banks or other massive

  government files.” Whalen, 429 U.S. at 605; see also NASA v. Nelson, 562 U.S.

  134, 155 (2011).

        The Ninth Circuit interprets Whalen and its progeny as recognizing a right to

  informational privacy in confidential personal information. Ferm v. United States

  Trustee (In re Crawford), 194 F.3d 954, 958 (9th Cir. 1999); see also Varo v. Los

  Angeles Cty. Dist. Atty’s Office, 473 F. Supp. 3d 1066, 1073 (C.D. Cal. 2019)


                                           16
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 23 of 34               PageID #:
                                     93



  (holding that the right to informational privacy includes confidential information

  and rejecting contention that such right is limited to medical information). Other

  circuits have characterized the right as one “to ‘confidentiality,’ to distinguish it

  from the right to autonomy and independence in decision-making for personal

  matters also recognized in Whalen.” Doe v. City of New York, 15 F.3d 264, 267 (2d

  Cir. 1994), cited with approval in Crawford, 194 F.3d at 958. The first step in such

  cases is to determine whether the individual has a protected informational privacy

  interest. See Crawford, 194 F.3d at 958; see also Walls v. Petersburg, 895 F.2d

  188, 192 (4th Cir. 1990) (in determining whether information is entitled to privacy

  protection, the court must first consider whether there is a “reasonable expectation[

  ] of confidentiality”). In this circuit, “the right to informational privacy applies

  both when an individual chooses not to disclose highly sensitive information to the

  government and when an individual seeks assurance that such information will not

  be made public.” Planned Parenthood of Southern Arizona v. Lawall, 307 F.3d

  783, 789–90 (9th Cir. 2002).

        “The right to informational privacy, however, ‘is not absolute; rather, it is a

  conditional right which may be infringed upon a showing of proper governmental

  interest.’” Crawford, 194 F.3d at 959 (quoting Doe v. Attorney General, 941 F.2d

  780, 796 (9th Cir. 1991)). As such, courts in the Ninth Circuit “engage in the

  delicate task of weighing competing interests to determine whether the government


                                             17
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 24 of 34              PageID #:
                                     94



  may properly disclose private information.” Id. (internal quotations omitted).

  Relevant factors to be considered include:

        [T]he type of record requested, the information it does or might
        contain, the potential for harm in any subsequent nonconsensual
        disclosure, the injury from disclosure to the relationship in which the
        record was generated, the adequacy of safeguards to prevent
        unauthorized disclosure, the degree of need for access, and whether
        there is an express statutory mandate, articulated public policy, or
        other recognizable public interest militating toward access.


  Doe v. Attorney General, 941 F.2d at 796. That list is not exhaustive, and the

  relevant considerations necessarily vary from case to case. Crawford, 194 F.3d at

  959. In each case, however, the state must establish “that its use of the information

  would advance a legitimate state interest and that its actions are narrowly tailored

  to meet the legitimate interest.” Id. (internal quotations omitted). In most cases, “it

  will be the overall context, rather than the particular item of information, that will

  dictate the tipping of the scales.” Id.

        Here, Plaintiff’s personal information consists of all his medical information

  that relates to mental health as applied to their disclosure to the City. See Exhibit

  C. And separately, he challenges the release of the fact he is purchasing of a

  firearm to his doctor. See Exhibit F.

        Because Plaintiff has a right to privacy in his personal information, the

  government must show that the disclosure of that information is narrowly tailored

  to achieve a legitimate state interest. Crawford, 194 F.3d at 959. The government

                                             18
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 25 of 34               PageID #:
                                     95



  cannot meet its burden. The City’s rationale for requiring disclosure is to see

  whether or not a person has been diagnosed for a significant mental illness. The

  disclosure is not tailored to that interest because it requires the applicant’s doctor to

  disclose all mental health treatment including treatment unrelated to significant

  mental illness.

        As the District Court for the Southern District of California has recognized,

  in cases upholding laws that compelled the collection or disclosure of private

  information, courts have emphasized that the validity of the law turns upon

  whether there are sufficient protections against unwarranted disclosure and

  whether the scope of the disclosure is appropriately tailored. See Orff v. City of

  Imperial, No. 17-cv-0116-W, 2017 WL 556983, at *4–*6 (S.D. Cal. Nov. 17,

  2017) (Whelan, J.) (analyzing privacy cases). In Whalen, for example, the Supreme

  Court upheld a New York law compelling prescription forms for certain controlled

  medications, including identifying information, to be reported to the state

  reasoning that the “statutory scheme, and its implementing procedures, evidence[d]

  a proper concern with, and protection of, the individual’s interest in privacy.”

  Whalen, 429 U.S. at 605. In so holding, the Court emphasized that “[p]ublic

  disclosure of the identity of patients [was] expressly prohibited by the statute and

  by a Department of Health Regulation.” Id. at 594. In Crawford, although the

  Ninth Circuit recognized the right of a bankruptcy petition preparer to


                                             19
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 26 of 34               PageID #:
                                     96



  informational privacy in his social security number—“especially when

  accompanied by names and addresses”—the court ultimately decided that the

  plaintiff’s concern about identity theft was outweighed by the underlying

  legislative policy to prevent “widespread fraud and unauthorized practice of law.”

  Crawford, 194 F.3d at 959–60. In Roe v. Sherry, 91 F.3d 1270 (9th Cir. 1996), the

  court held that the plaintiff’s privacy interest in his confidential HIV test results

  was overcome by the Navy’s interest in “collecting evidence of a serious crime”

  involving HIV transmission. Id. at 1274. Additionally, the court emphasized that

  the Navy “made only a limited disclosure of [the plaintiff’s] HIV status” to

  individuals with a “specific need to know.” Id.

        Unlike the above cases, the information the City needs is far less than the

  information it requires Plaintiff to disclose. And in the case of informing

  Plaintiff’s doctors about his desired firearm ownership, that serves no government

  interest at all. The City could simply send a request for an applicant’s medical

  information, specifically requesting whether or not the applicant meets the

  statutory definition, that is, a significant emotional, behavioral or mental disorder

  as defined by the most current diagnostic manual, along with his waiver without

  disclosing the fact an applicant is attempting to purchase a firearm and the same

  government interest would be served. Therefore, both disclosures are

  unconstitutional. The disclosure of medical information is unconstitutional


                                             20
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 27 of 34                PageID #:
                                     97



  because it is not narrowly tailored. And the disclosure of firearms information to

  Plaintiff’s doctor is unconstitutional because it does not serve a government

  interest and it is not narrowly tailored.

           The Disclosure Requirement Violates the Second Amendment

        The Supreme Court has “consistently refused to allow government to chill

  the exercise of constitutional rights by requiring disclosure of protected, but

  sometimes unpopular, activities.” Thornburgh, 476 U.S. at 767; see also Lamont,

  381 U.S. at 306–07; Talley, 362 U.S. at 64–65; NAACP, 357 U.S. at 462–65. It

  does not matter whether the government’s disclosure of private personal

  information is “an effort to suppress” the constitutional rights in question. NAACP,

  357 U.S. at 461. Indeed, “[t]he governmental action may appear to be totally

  unrelated to protected liberties.” Id. What matters is the “practical effect” of the

  compelled disclosure on the free exercise of constitutional rights. Public disclosure

  is barred if it would suppress, curtail, discourage, dissuade, or otherwise deter the

  free exercise of protected liberties. Id. at 461–63.

        For example, in Thornburgh, the Court struck down a statute mandating the

  compilation and permitting public access to personal identifying information of

  women who had an abortion. Thornburgh, 476 U.S. at 765 (quoting statute); see

  also id. at 766. As the Supreme Court explained:

        Pennsylvania’s reporting requirements raise the specter of public
        exposure and harassment of women who choose to exercise their

                                              21
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 28 of 34                   PageID #:
                                     98



        personal, intensely private, right, with their physician, to end a
        pregnancy. Thus, they pose an unacceptable danger of deterring the
        exercise of that right, and must be invalidated.


  476 U.S. at 767–68 (citations omitted).

        Information about citizens choosing to exercise a politically divisive,

  controversial, or unpopular constitutional right “must be protected in a way that

  assures anonymity,” because an individual may become “reluctant” to exercise her

  right “if there exists a possibility that her decision and identity will become known

  publicly.” Id. at 766–67. “It is inherent in the right . . . that the right may be

  exercised without public scrutiny and in defiance of the contrary opinion of the

  sovereign or other third parties.” Bellotti v. Baird, 443 U.S. 622, 655 (1979)

  (Stevens, J., concurring).

        Requiring Plaintiff to disclose to his doctor that he is purchasing a firearm

  has the effect of chilling his Second Amendment rights because applicants may

  become reluctant to purchase a firearm if they know their doctor and other medical

  personnel will know they are doing so. This is unconstitutional due to the holdings

  in the above cases. And there is absolutely no need for the City to disclose this

  information to achieve their stated purpose. The City could simply send a request

  to an applicant’s doctor along with a release form in order to receive the desired

  medical files (not all medical files). Even under intermediate scrutiny which is the

  lowest standard that could apply for the reasons stated in the Second Amendment

                                              22
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 29 of 34             PageID #:
                                     99



  section above, there is no important government interest to disclosing this

  information to applicant’s doctor. Even if there is, that reason is not narrowly

  tailored.

                                 Vagueness/Fair Notice

        Alternatively, if this Court finds that Plaintiff can be permissibly denied

  firearms under H.R.S. §134-7(c)(3) until he is medically cleared, then the statute is

  unconstitutionally vague. “It is a basic principle of due process that an enactment

  is void for vagueness if its prohibitions are not clearly defined.” Grayned v. City of

  Rockford, 408 U.S. 104, 108 (1972). H.R.S §134-7(c)(3) applies to “persons who

  have been diagnosed as having a significant behavioral, emotional, or mental

  disorders as defined by the most current diagnostic manual of the American

  Psychiatric Association”. However, as Plaintiff’s expert explains in his declaration

  the current diagnostic manual of the American Psychiatric Association (“DSM”).

  does not define psychiatric conditions as “significant”. See Complaint Exhibit E

  Declaration of Doctor Dennis Petrocelli. Therefore, it is unclear what conditions

  prohibits Plaintiff from owning firearms. Therefore, H.R.S. §134-7(c)(3) fails to

  provide fair warning of what is a prohibiting mental condition. H.R.S. §134-7(c)(3)

  is unconstitutionally vague both facially and as applied to Plaintiff.

        This Court should find Plaintiff is likely to succeed on the merits for all the

  reasons laid out above.


                                            23
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 30 of 34              PageID #:
                                    100



                        Plaintiff Will Suffer Irreparable Harm

        If this Court concludes that Plaintiff is likely to prevail on his constitutional

  claims, the remaining preliminary injunction factors follow readily. “It is well

  established that the deprivation of constitutional rights ‘unquestionably constitutes

  irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)

  (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); 11A Charles Alan Wright et

  al., Federal Practice and Procedure § 2948.1 (2d ed. 1995) (“When an alleged

  deprivation of a constitutional right is involved, most courts hold that no further

  showing of irreparable injury is necessary.”). The Ninth Circuit has imported the

  First Amendment “irreparable-if-only-for-a-minute” rule to other rights and, in

  doing so, has held deprivation of those rights is irreparable harm per se. Monterey

  Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997). The Second Amendment

  should be treated no differently. See McDonald, 561 U.S. at 780; see also Ezell,

  651 F.3d at 700 (a deprivation of the right to arms is “irreparable and having no

  adequate remedy at law.”)

        This Court should conclude “that Plaintiff has established a likelihood of

  irreparable harm…At issue in this litigation is the alleged infringement of

  Plaintiff's right to bear arms for self-defense …, the very right that the Ezell court

  considered.” Fisher v. Kealoha, 2012 U.S. Dist. LEXIS 90734, *40, 2012 WL.




                                             24
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 31 of 34                 PageID #:
                                    101



          Granting Preliminary Injunctive Relief is in the Public Interest

         The last two preliminary injunction elements merge when the government is

  the defendant. Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir.

  2014) (citation omitted). For similar reasons, granting preliminary injunctive relief

  is clearly in the public interest. When challenging government action that affects

  the exercise of constitutional rights, “[t]he public interest . . . tip[s] sharply in favor

  of enjoining the” law. Klein v. City of San Clemente, 584 F.3d 1196, 1208 (9th Cir.

  2009). As the Ninth Circuit has made clear, “all citizens have a stake in upholding

  the Constitution” and have “concerns [that] are implicated when a constitutional

  right has been violated.” Preminger v. Principi, 422 F.3d 815, 826 (9th Cir. 2005).

  The public interest thus tips sharply in Plaintiff’s favor. Klein, 584 F.3d at 1208.

  After all, doing so would merely return to the status quo, where Plaintiff legally

  owns his firearms. The City “cannot suffer harm from an injunction that merely

  ends an unlawful practice or reads a statute as required to avoid constitutional

  concerns.” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013); See Valle

  del Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) (“[I]t is clear that it

  would not be equitable . . . to allow the state . . . to violate the requirements of

  federal law.” (citations omitted)). On the other hand, granting an injunction will

  end the ongoing violation of Plaintiff’s rights.




                                              25
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 32 of 34             PageID #:
                                    102



        The Court should conclude “that it is in the public interest to uphold

  Plaintiff’s Constitutional right to bear arms in self-defense …, and accordingly

  finds that this factor weighs in favor of granting the preliminary injunction.” Fisher

  v. Kealoha, 2012 U.S. Dist. LEXIS 90734, *44, 2012 WL 2526923. This Court

  should find the same here.

        Waiver of Bond is Proper and Appropriate Under These Circumstances

        “Notwithstanding its seemingly mandatory language,” stating that the

  movant must provide “security in an amount that the court considers proper to pay

  the costs and damages sustained by any party found to have been wrongfully

  enjoined or restrained,” “Rule 65(c) invests the district court with discretion as to

  the amount of security required, if any.” Weaver v. City of Montebello, 370

  F.Supp.3d 1130, 1139 (C.D. Cal. 2109) (quoting Johnson v. Couturier, 572 F.3d

  1067, 1086 (9th Cir. 2009)). The court may properly dispense with any such bond

  requirement when “the balance of ... equities weighs overwhelmingly in favor of

  the party seeking the injunction,” East Bay Sanctuary Covenant v. Trump, 349

  F.Supp.3d 838, 869 (N.D. Cal. 2018) (quoting Elliott v. Kiesewetter, 98 F.3d 47,

  60 (3d Cir. 1996)), when “there is no realistic likelihood of harm to the defendant

  from enjoining his or her conduct,” Johnson at 1086 (internal quotations omitted),

  and where the plaintiffs have a “likelihood of success on the merits,” People of the

  State of Cal. ex rel. Van De Kamp v. Tahoe Regency Planning Agency, 766 F.2d


                                            26
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 33 of 34             PageID #:
                                    103



  1319, 1326 (9th Cir. 1985). All these factors are true here, as illustrated above, thus

  rendering a waiver both proper and appropriate.

                 This Court Should Consolidate Pursuant to Rule 65(a)(2)

        Rule 65(a)(2) of the Federal Rules of Civil Procedure state “[b]efore or after

  beginning the hearing on a motion for a preliminary injunction, the court may

  advance the trial on the merits and consolidate it with the hearing. This Court

  should do so here because “[g]iven the expedited and predominately legal nature of

  the questions presented by this litigation,” the “evidence presented by the parties

  through the briefing and hearing on the motions for preliminary injunctions will be

  relevant to adjudicating the Plaintiffs' claims on the merits.” Donald J. Trump for

  President, Inc. v. Bullock, No. CV 20-66-H-DLC, 2020 U.S. Dist. LEXIS 169794,

  at *2 (D. Mont. Sep. 16, 2020). Furthermore, as established above, Plaintiff is

  currently suffering irreparable harm and would thus, benefit from a consolidated

  hearing.

                                       Conclusion

  The motion should be granted.

        Dated: April 3, 2022.

                            Respectfully submitted,

                            /s/Kevin Gerard O’Grady
                             Kevin O’Grady

                            /s/ Alan Beck


                                            27
Case 1:22-cv-00142-DKW-KJM Document 5-1 Filed 04/03/22 Page 34 of 34   PageID #:
                                    104



                         Alan Alexander Beck




                                      28
